     Case: 1:12-cr-00723 Document #: 29 Filed: 10/19/12 Page 1 of 6 PageID #:87




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )
             v.                          )     No. 12 CR 723
                                         )
ADEL DAOUD                               )     Hon. Sharon Johnson Coleman

                               PROTECTIVE ORDER

      WHEREAS, the parties agree that they have a compelling interest in preventing

certain sensitive but declassified discovery materials from being disclosed to anyone

not a party to the court proceedings in this matter; such material may include

information relevant to ongoing national security investigations and prosecutions; and

such materials may implicate the privacy interests of the defendant and third parties;

      AND WHEREAS, the government seeks to tender to the defendant certain

declassified materials prior to the next scheduled proceeding in this case. As used

herein, the term “Declassified Materials” refers to any and all classified documents,

materials, and information that have been marked as declassified and provided by the

government to defense counsel as part of discovery in this case;

      AND WHEREAS, the parties further agree that the Court has the power under

Fed. R. Crim. P. 16(d)(1) and 26.2 to grant appropriate relief to the parties where

required in the interests of justice;

      THEREFORE, IT IS HEREBY ORDERED pursuant to Rule 16(d) of the Federal

Rules of Criminal Procedure that the government shall segregate the discovery

materials it produces to the defendant and his counsel of record into two categories: (1)

General Discovery Materials, and (2) Sensitive Discovery Materials. The category to
         Case: 1:12-cr-00723 Document #: 29 Filed: 10/19/12 Page 2 of 6 PageID #:88




which particular discovery materials belong shall be clearly identified by the

government;

          IT IS FURTHER ORDERED that, except as provided below, General Discovery

Materials shall not be further disseminated1 by the defendant or his counsel of record

to any individuals, organizations or other entities, other than: (i) members of the

defense team (co-counsel, paralegals, investigators, translators, litigation support

personnel, the defendant, and secretarial staff) and (ii) experts retained to assist in the

preparation of the defense. Members of the defense team may show (but not provide

copies of) any General Discovery Materials to witnesses or potential witnesses during

the course of their investigation of this case. Each of the individuals to whom disclosure

is made pursuant to the above provisions shall be provided a copy of this protective

order and will be advised that he or she shall not further disseminate the materials

except by the express direction of counsel of record or co-counsel;

          IT IS FURTHER ORDERED that Sensitive Discovery Materials2 shall not be

further disseminated by the defendant or his counsel of record to any individuals,

organizations or other entities, other than (i) members of the defense team (co-counsel,

paralegals, investigators, translators, litigation support personnel, the defendant, and

 1
       “Disseminated” means to provide, show or describe to another either a particular
piece of discovery or quotations, excerpts, or summaries derived therefrom.
     2
       The category of Sensitive Discovery Materials includes all declassified
information, and all declassified materials that were a product of physical searches or
electronic surveillance authorized pursuant to the Foreign Intelligence Surveillance
Act of 1978, 50 U.S.C. §§ 1801-1811, 1821-1829, (FISA) that are reviewed by or made
available to the defendant or defense team in this case. Such declassified materials
shall be collectively referred to as “Declassified Materials.”

                                             2
     Case: 1:12-cr-00723 Document #: 29 Filed: 10/19/12 Page 3 of 6 PageID #:89




secretarial staff); and (ii) experts retained to assist in the preparation of the defense.

Notice of proposed dissemination to defense experts shall be provided to the Court ex

parte and under seal. Each of the individuals to whom disclosure is made pursuant to

the above provision shall be provided a copy of this protective order and will be advised

that he or she shall not further disseminate the materials except by the express

direction of counsel of record or co-counsel. The government shall provide copies of any

Sensitive Discovery Material appropriately so marked. It is expressly understood that

counsel for the defendant or co-counsel may not disseminate any of such Sensitive

Discovery Materials to witnesses or potential witnesses. The defendant may seek relief

from these provisions as to a particular item or items of discovery by providing notice

to the Court of intent to disseminate particular identified item(s) to a witness and the

purpose in doing so. The Notice shall be under seal. No disclosure of the item(s) to the

witness(es) shall be made until the Court so permits. The Court, after notifying the

defense, may consult with the Government regarding any dissemination requests

pursuant to this paragraph;

      IT IS FURTHER ORDERED that no General Discovery Material or Sensitive

Discovery Material shall be disseminated to any member of the defense team, as

defined above, expert witness retained by the defense team, or any duly authorized

witness unless that person shall first have signed the Memorandum of Understanding

in the form attached hereto, agreeing to comply with the terms of this Order. The

signed Memorandum of Understanding shall be filed with the Court under seal. The

substitution, departure, or removal for any reason from this case of counsel for the

                                            3
    Case: 1:12-cr-00723 Document #: 29 Filed: 10/19/12 Page 4 of 6 PageID #:90




defendant, or anyone associated with the defense team shall not release that person

from the provisions of this Order or the Memorandum of Understanding executed in

connection with this Order;

      IT IS FURTHER ORDERED that all discovery materials, whether general or

sensitive, in this case are now and will forever remain the property of the United

States Government. At the conclusion of this case, all discovery materials shall be

destroyed or maintained under secure conditions by defense counsel. Upon written

request of the Government, all discovery materials shall be returned to the

Government;

      IT IS FURTHER ORDERED that defense counsel in receipt of Declassified

Materials may only make copies of the Declassified Materials in accordance with this

order. Defense counsel shall not remove from any copies of either General Discovery

Materials or Sensitive Discovery Materials any inscription made by the Government

identifying the materials as: “U.S. Government Property” and “May Not Be Used

Without U.S. Government Permission”;

      IT IS FURTHER ORDERED that all discovery materials are to be provided to

the defense, and used by the defense, solely for the purpose of allowing the defendant

to prepare his defense;

      IT IS FURTHER ORDERED that no party shall make, or participate in the

making of, any extrajudicial disclosure of Sensitive Discovery Materials for

dissemination by means of public communication, unless such materials are (or

become) public record, including but not limited to, trial transcripts, documents that


                                          4
     Case: 1:12-cr-00723 Document #: 29 Filed: 10/19/12 Page 5 of 6 PageID #:91




have been received in evidence at other trials, or documents that are otherwise

properly placed in the public domain;

      IT IS FURTHER ORDERED that any papers to be served upon the Court in

response to papers served in conformity with the preceding paragraph also be filed

under seal;

      IT IS FURTHER ORDERED that counsel shall store all Sensitive Discovery

Materials, and any copies thereof, in a secure place;

      IT IS FURTHER ORDERED that notwithstanding any other provision of this

or any other Protective Order that may be entered by the Court, the disclosure or

discovery of materials that may be submitted to the Court in connection with any

FISA-related litigation, including but not limited to any FISA applications, orders, or

related materials, shall be governed by FISA;

      IT IS FURTHER ORDERED that any papers filed by the government pursuant

to the Classified Information Procedures Act containing classified information shall be

filed under seal and ex parte with the Court through the Classified Information

Security Officer or a designee of his choosing who possesses the necessary security

clearance. The date and time of physical submission to the Classified Information

Security Officer or an appropriately cleared designee shall be considered the date and

time of the filing. At the time of making a physical submission to the Classified

Information Security Officer or a designee, counsel shall file on the public record in the

CM/ECF system a notice of filing. This notice should contain only the case caption and

the unclassified title of the filing. In accordance with the provisions of Classified


                                            5
     Case: 1:12-cr-00723 Document #: 29 Filed: 10/19/12 Page 6 of 6 PageID #:92




Information Protection Act and the Security Procedures, the Court designates Daniel

O. Hartenstine as Classified Information Security Officer for this case, and Jennifer

H. Campbell, Branden M. Forsgren, Christine E. Gunning, Joan B. Kennedy, Maura

L. Peterson, Michael P. Macisso, Carli V. Rodriguez-Feo, Harry J. Rucker and Winfield

S. Slade as Alternate Classified Information Security Officers;

      IT IS FURTHER ORDERED that nothing in this Order shall preclude the

government or the defendant from seeking a further protective order pursuant to Rule

16(d) as to particular items of discovery material; and

      FINALLY, IT IS ORDERED that this Order is entered without prejudice to

either party’s right to seek a revision of the Order by appropriate motion to the Court.




                                        HON. SHARON JOHNSON COLEMAN
                                        UNITED STATES DISTRICT COURT


Dated: October 19, 2012




                                           6
